Case: 2:23-cv-02993-MHW-EPD Doc #: 98 Filed: 04/03/25 Page: 1 of 6 PAGEID #: 2135




                       THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION
________________________________________
                                         )
JOHN DOE 162, et al.,                    )
                                         )
            Plaintiffs,                  )   Case No. 2:23-cv-02991
                                         )
v.                                       )   Judge Michael H. Watson
                                         )
THE OHIO STATE UNIVERSITY,               )   Magistrate Judge Elizabeth P. Deavers
                                         )
           Defendant.                    )
________________________________________ )
                                         )
STEVE SNYDER-HILL, et al.,               )
                                         )
             Plaintiffs,                 )   Case No. 2:23-cv-02993
                                         )
v.                                       )   Judge Michael H. Watson
                                         )
THE OHIO STATE UNIVERSITY,               )   Magistrate Judge Elizabeth P. Deavers
                                         )
            Defendant.                   )
________________________________________ )
                                         )
WILLIAM KNIGHT, et al.,                  )
                                         )
            Plaintiffs,                  )   Case No. 2:23-cv-02994
                                         )
v.                                       )   Judge Michael H. Watson
                                         )
THE OHIO STATE UNIVERSITY,               )   Magistrate Judge Elizabeth P. Deavers
                                         )
            Defendant.                   )
________________________________________ )
                                         )
JOHN DOE,                                )
                                         )
            Plaintiffs,                  )    Case No. 2:23-cv-02996
                                         )
v.                                       )    Judge Michael H. Watson
                                         )
THE OHIO STATE UNIVERSITY,               )    Magistrate Judge Elizabeth P. Deavers
                                         )
Case: 2:23-cv-02993-MHW-EPD Doc #: 98 Filed: 04/03/25 Page: 2 of 6 PAGEID #: 2136




            Defendant.                   )
________________________________________ )
                                         )
EDWARD GONZALES, et al.,                 )
                                         )
            Plaintiffs,                  )                   Case No. 2:23-cv-3051
                                         )
v.                                       )                   Judge Michael H. Watson
                                         )
THE OHIO STATE UNIVERSITY,               )                  Magistrate Judge Elizabeth P. Deavers
                                         )
           Defendant.                    )
________________________________________ )

                 PLAINTIFFS’ DESIGNATED DISCOVERY PLAINTIFFS

        In accordance with the Court’s March 25, 2025 Order, see 23-cv-2993 ECF No. 94,

Plaintiffs in the 5 above-captioned cases have jointly selected the following 10 Plaintiffs to

proceed to full fact discovery. In following with the Court’s direction, Plaintiffs will also file this

list under seal disclosing the identities of the 3 below-listed Plaintiffs proceeding anonymously.

        Plaintiffs’ 10 jointly designated Plaintiffs are:

        (1) Michael Murphy (23-cv-2993)

        (2) Patrick Murray (23-cv-2993)

        (3) John Doe 14 (23-cv-2993)

        (4) John Doe 16 (23-cv-2993)

        (5) John Doe 72 (23-cv-2993)

        (6) Jack Cahill (23-cv-2994)

        (7) William Knight (23-cv-2994)

        (8) Edward Gonzales (23-cv-3051)

        (9) Al Novakowski (23-cv-3051)

        (10)    Michael Schyck (23-cv-3051)




                                                  2
Case: 2:23-cv-02993-MHW-EPD Doc #: 98 Filed: 04/03/25 Page: 3 of 6 PAGEID #: 2137




                                     Respectfully submitted,

                                       EMERY CELLI BRINCKERHOFF ABADY
                                       WARD & MAAZEL LLP

                                           By: /s/ Sonya Levitova
                                           Ilann M. Maazel (admitted pro hac vice)
                                           Debra L. Greenberger (admitted pro hac vice)
                                           Sonya Levitova (admitted pro hac vice)
                                           Hannah Brudney (admitted pro hac vice)
                                           600 Fifth Avenue
                                           New York, New York 10020
                                           Phone: (212) 763-5000
                                           Fax: (212) 763-5001
                                           E-Mail: imaazel@ecbawm.com
                                           E-Mail: dgreenberger@ecbawm.com
                                           E-Mail: slevitova@ecbawm.com
                                           E-Mail: hbrudney@ecbawm.com

                                       SCOTT ELLIOTT SMITH, LPA
                                        Scott E. Smith (0003749)
                                        2727 Tuller Pkwy, Suite 140
                                        Dublin, Ohio 43017
                                        Phone: (614) 846-1700
                                        Fax: (614) 486-4987
                                        E-Mail:ses@sestriallaw.com

                                       PUBLIC JUSTICE
                                        Adele P. Kimmel (admitted pro hac vice)
                                        Alexandra Z. Brodsky (admitted pro hac vice)
                                        1620 L Street, NW, Suite
                                        630 Washington, DC 20036
                                        Phone: (202) 797-8600
                                        Fax: (202) 232-7203
                                        E-mail: akimmel@publicjustice.net
                                        E-mail: abrodsky@publicjustice.net

                                       Attorneys for Snyder-Hill Plaintiffs

                                       THE LAW OFFICES OF SIMINA VOURLIS
                                        Simina Vourlis (0046689) (Trial Attorney)
                                        856 Pullman Way
                                        Columbus, OH 43212-3860
                                        Phone: (614) 487-5900
                                        Fax: (614) 487-5901
                                        Email: svourlis@vourlislaw.com



                                       3
Case: 2:23-cv-02993-MHW-EPD Doc #: 98 Filed: 04/03/25 Page: 4 of 6 PAGEID #: 2138




                                       SHARP LAW, LLP
                                        Rex A. Sharp
                                        Sarah T. Bradshaw
                                        Nathan Kakazu
                                        4820 W. 75th Street
                                        Prairie Village, KS 66208
                                        (913) 901-0505
                                        rsharp@midwest-law.com
                                        sbradshaw@midwest-law.com
                                        nkakazu@midwest-law.com

                                       ESTEY & BOMBERGER LLP
                                        Stephen Estey
                                        2869 India Street
                                        San Diego, CA 92103
                                        619-295-0035
                                        619-295-0172 fax
                                        steve@estey-bomberger.com

                                       KARON LLC
                                        Daniel R. Karon
                                        700 W. St. Clair Ave., Suite 200
                                        Cleveland, OH 44113
                                        Tel.: 216.622.1851
                                        dkaron@karonllc.com

                                       SAUDER SCHELKOPF LLC
                                        Joseph Sauder
                                        1109 Lancaster Avenue
                                        Berwyn, PA 19312
                                        (610) 200-0580
                                        (610) 421-1326
                                        jgs@sstriallawyers.com

                                        Counsel for the Sharp Group Plaintiffs
                                        (Gonzales, et al., Case No. 2:23-cv-3051)




                                       4
Case: 2:23-cv-02993-MHW-EPD Doc #: 98 Filed: 04/03/25 Page: 5 of 6 PAGEID #: 2139




                                       MEISTER SELIG & FEIN LLP
                                        Benjamin D. Bianco (admitted pro hac vice)
                                        Mitchell Schuster (admitted pro hac vice)
                                        Leah A. Henry (admitted pro hac vice)
                                        125 Park Ave., 7th Floor
                                        New York, NY 10017
                                        (212) 655-3500
                                        Fax: 646-564-4804
                                        Email: bdb@msf-law.com
                                        Email: ms@msf-law.com
                                        Email: lah@msf-law.com

                                       LAW OFFICES OF JOHN C. CAMILLUS,
                                       LLC
                                        John C. Camillus
                                        P.O. Box 141410
                                        Columbus, OH 43214
                                        614-992-1000
                                        Fax: 614-559-6731
                                        Email: jcamillus@camilluslaw.com

                                       Attorneys for John Doe Plaintiff

                                       RATLIFF LAW OFFICE
                                        J C Ratliff
                                        Rocky Jay Ratliff
                                        200 W. Center St.
                                        Marion, OH 43302
                                        740 383 6023
                                        Fax: 740 383 2066
                                        Email: attorney.ratliff@gmail.com
                                        Email: attorneyrockyratliff@gmail.com

                                       WILSON & KOCHHEISER CO., LPA
                                        Robert E Wilson
                                        132 S. Main Street
                                        Marion, OH 43302
                                        740 387-0970
                                        Fax: 740 387 3406
                                        Email: wkatty@frognet.net

                                       Attorneys for Knight Plaintiffs

                                       WRIGHT & SCHULTE, LLC
                                        Richard W. Schulte (0066031) (Trial
                                        Attorney)



                                       5
Case: 2:23-cv-02993-MHW-EPD Doc #: 98 Filed: 04/03/25 Page: 6 of 6 PAGEID #: 2140




                                           Jacob A. Gebelle (0093528)
                                           865 S. Dixie Dr.
                                           Vandalia, OH 45377
                                           (937) 435-7500
                                           (937) 435-7511 facsimile
                                           rschulte@yourlegalhelp.com
                                           jgebelle@yourlegalhelp.com

                                       WRIGHT & SCHULTE, LLC
                                        Dennis P Mulvihill
                                        31100 Pinetree Road
                                        Suite 225
                                        Ste 620
                                        Pepper Pike, OH 44124
                                        dmulvihill@yourlegalhelp.com

                                       WRIGHT & SCHULTE, LLC
                                        Michael L Wright
                                        130 W. Second Street, Suite 1600
                                        Dayton, OH 45402
                                        mwright@yourlegalhelp.com

                                       Counsel for the Wright & Schulte Plaintiffs
                                       (John Does 162, et al., Case No. 2:23-cv-02991)




                                       6
